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UNITED STATES DISTRICT COURT BOC ns na oy
SOUTHERN DISTRICT OF NEW YORK 7 -
UNITED STATES OF AMERICA RTE "SLED. EDAw |
———t “SEALED
- ve - INDICTMENT
WESAM EL-HANAFT, S2 10 Cr.

a/k/a “Khaled,” and

nemafase tres, -10CRM 162

Defendants.

 

COUNT ONE

CONSPIRACY TQ PROVIDE MATERIAL
SUPPORT TO A FOREIGN TERRORIST ORGANIZATION

The Grand Jury charges:

1. From at least in or about November 2007 up to and
including in or about March 2010, in an offense occurring in and
affecting interstate and foreign commerce, WESAM EL-HANAFI, a/k/a
“Khaled,” and SABIRHAN HASANOFF, a/k/a “Tareq,” the defendants,
at least one of whom will be first brought to and arrested in the
Southern District of New York, and others known and unknown,
unlawfully and knowingly did combine, conspire, confederate and
agree together and with each other to provide “material support
or resources,” as that term is defined in Title 18, United States
Code, Section 2339A(b), to a foreign terrorist organization, to
wit, al Qaeda, which has been designated by the United States
Secretary of State as a foreign terrorist organization on October

8, 1999; October 5, 2001; October 2, 2003; April 28, 2006;
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October 2, 2003; and is currently designated as such, as of the
date of filing of this Indictment.

2. It was a part and an object of the conspiracy that
WESAM EL-HANAFI, a/k/a “Khaled,” and SABIRHAN HASANOFF, a/k/a
“Tareq,” the defendants, would and did agree to provide al Qaeda
with, among other things, computer advice and assistance,
services, and currency, knowing that al Qaeda had engaged and was
engaging in terrorist activity (as defined in section
212(a) (3) (B) of the Immigration and Nationality Act), and that Al
Qaeda had engaged and was engaging in terrorism (as defined in
section 140(d) (2) of the Foreign Relations Authorization Act,
Fiscal Years 1988 and 1989), in violation of Title 18, United
States Code, Section 2339B.

Overt Acts

3. In furtherance of the conspiracy and to effect the
illegal object thereof, the following overt acts, among others,
were committed in the Southern District of New York and
elsewhere:

a. On or about November 28, 2007, SABIRHAN
HASANOFF, a/k/a “Tareq,” the defendant, a United States citizen,
received approximately $50,000 from a co-conspirator not named as
a defendant herein (“CC-1").
b. In or about February 2008, WESAM EL-HANAFI,

a/k/a “Khaled,” the defendant, a United States citizen, traveled
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to Yemen where he met with two members of al Qaeda who instructed
him on operational security measures and directed him to perform
tasks for al Qaeda.

Cc. In or about February 2008, EL-HANAFI, while
in Yemen, took an oath of allegiance to al Qaeda.

d. From in or about March 2008 through in or
about May 2008, EL-HANAFI purchased a subscription for a software
program that enabled him to communicate securely with others over
the internet.

e. In or about May 2008, EL-HANAFI met with CC-1
in Brooklyn, New York, to discuss joining al Qaeda.

£. In or about June 2008, HASANOFF and EL-HANAFI
had a discussion with CC-1 about joining al Qaeda.

g. In or about June 2008, EL-HANAFI accepted an
oath of allegiance on behalf of al Qaeda from CC-1.

h. In or about June 2008, EL-HANAFI directed
CC-1 to perform tasks for al Qaeda.

i. In or about June 2008, HASANOFF instructed
CC-1 not to fill his United States passport with stamps to retain
the passport’s value to al Qaeda.

j. In or about August 2008, HASANOFF traveled to

New York City and performed tasks for al Qaeda.
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k. On or about April 15, 2009, EL-HANAFI
purchased seven Casio digital watches over the internet and had
them delivered to his residence in Brooklyn, New York.

1. In or about June 2009, CC-1 called a
consulate in New York, New York, after communicating with El-
HANAFI and HASANOFF.

m. In or about July 2009, EL-HANAFI and HASANOFF
participated in a conversation with CC-1, during which they
discussed seeking out additional contacts within al Qaeda.

(Title 18, United States Code,
Sections 2339B(a) (1), (d) (1) (A), (da) (1) (D) and 3238.)
FORFEITURE ALLEGATION
4. The allegations contained in Count One of this
Indictment are hereby realleged and incorporated by reference
for the purpose of alleging forfeitures pursuant to Title 18,
United States Code, Section 981(a)(1)(G), and Title 28, United

States Code, Section 2461(c).

5. The violation of Title 18, United States Code,
Section 2339B alleged in Count One this Indictment was a Federal
crime of terrorism, as defined in 18 U.S.C. § 2332b(g) (5),
against the United States, citizens and residents of the United
States, and their property.

6. WESAM EL-HANAFI, a/k/a “Khaled,” and SABIRHAN

HASANOFF, a/k/a “Tareq,” the defendants, were individuals
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engaged in planning and perpetrating a Federal crime of
terrorism against the United States, citizens and residents of
the United States, and their property.

7. Upon conviction of the offense in violation of
Title 18, United States Code, Section 2339B alleged in Count One
of this Indictment, WESAM EL-HANAFI, a/k/a “Khaled,” and
SABIRHAN HASANOFF, a/k/a “Tareg,” the defendants, shall forfeit
to the United States, pursuant to Title 18, United States Code,
Section 981(a)(1)(G) (i), and Title 28, United States Code,
Section 2461(c), all right, title, and interest in all assets,
foreign and domestic, derived from, involved in, and used and
intended to be used to commit a Federal crime of terrorism
against the United States, citizens and residents of the United

States, and their property.
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8. Upon conviction of the offense in violation of
Title 18, United States Code, Section 2339B alleged in Count One
of this Indictment, WESAM EL-HANAFI, a/k/a “Khaled,” and
SABIRHAN HASANOFF, a/k/a “Tareq,” the defendants, shall pay to
the United States, pursuant to Title 18, United States Code,
Section 981(a)(1)(G), and Title 28, United States Code, Section
2461(c), a money judgment equal to the value of the assets
subject to forfeiture under Paragraphs 4 through 7 above.

(Title 18, United States Code, Section 981(a)(1)(G) and
Title 28, United States Code, Section 2461(c).)

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(FOREPERSON PREET BHARARA
United States Attorney
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Form No. USA-33s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA

-v. -
WESAM EL-HANAFI,
a/k/a “Khaled,”

SABIRHAN HASANOFF,

a/k/a “Tareq,”

Defendants.

 

INDICTMENT
$2 10 CR
(Title 18, United States Code, Section
2339B)
PREET BHARARA
United States Attorney
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